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                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

                                               }
IN RE: BLUE CROSS BLUE SHIELD                  }       Master File No.: 2:13-CV-20000-RDP
ANTITRUST LITIGATION                           }        This document relates to all cases
    (MDL NO.: 2406)                            }
                                               }

                    ORDER APPOINTING MONITORING COMMITTEE

         This matter is before the court on an unresolved issue related to the Subscriber Settlement.

To oversee compliance with the Settlement for a five-year period from the court’s entry of Final

Judgment and Order of Dismissal, the Settlement provided for the establishment of a Monitoring

Committee. In the court’s August 9, 2022 Final Order and Judgment Granting Approval of

Subscriber Class Action Settlement and Appointing Settlement Administrator, the court reserved

the issue of the makeup of the Monitoring Committee. (Doc. # 2931 at 89, ¶ 21). After consultation

with counsel for the Settling Parties, it is ORDERED as follows:

         Based on the record before the court, including the submissions in support of the Settlement

and Objections and responses thereto, the court hereby ESTABLISHES a Monitoring Committee

to serve and to perform the functions specified under the Settlement Agreement during the

Monitoring Period. The Monitoring Committee SHALL be made up of: (1) Karin DeMasi, Craig

Hoover, and Scott Nehs, appointed collectively by Settling Defendants; (2) David Boies, William

Isaacson, and Megan Jones, appointed collectively by Settlement Class Counsel; (3) David Benck,

appointed by Self-Funded Sub-Class Settlement Counsel; and (4) Edgar Gentle, appointed by the

court.

         The court understands that the Settlement specified a certain structure for the Monitoring

Committee. The court has, in its discretion, provided for a slightly different structure of the
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Committee. Importantly, however, in order to maintain the intended balance on the Committee

between representatives of Subscriber Plaintiffs and the Blues, although there are four members

appointed collectively by Subscribers and the Self-Funded Sub-Class, David Boies and William

Isaacson SHALL have only one-half votes, so that the vote of the court-appointed Committee

Member will still be a tie-breaking vote if the other Monitoring Committee members are

deadlocked.

       The court encourages the members to be frugal with their time and billing. The court

appointed member of the Committee, Edgar Gentle, will prepare a committee budget for members

approval.

       DONE and ORDERED this December 9, 2022.



                                           _________________________________
                                           R. DAVID PROCTOR
                                           UNITED STATES DISTRICT JUDGE




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